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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ET AL.,  )
                                    )
           Plaintiffs,              )
                                    )            CV No. 20-3010
        vs.                         )            Washington, D.C.
                                    )            May 12, 2022
 GOOGLE LLC,                        )            3:00 p.m.
                                    )
           Defendant.               )
 ___________________________________)


                          TRANSCRIPT OF
              STATUS CONFERENCE VIA ZOOM PROCEEDINGS
                BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE


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1                            P R O C E E D I N G S

2                 COURTROOM DEPUTY:      Good afternoon, Your Honor.

3     This is Civil Action 20-3010, United States of America,

4     et al., versus Google LLC.

5                 Kenneth Dintzer for the DOJ plaintiff.

6                 Jonathan Sallet for the Colorado Plaintiffs.

7                 And John Schmidtlein on behalf of defendant.

8                 And, Your Honor, you're currently muted; sorry

9     about that.

10                THE COURT:    All right.     How about now?

11                COURTROOM DEPUTY:      Now we can hear you.      Thanks.

12                THE COURT:    Okay.    Great.   Good afternoon,

13    everybody.    I hope everybody is well.

14                So we are here on what I hope will be an

15    auspicious status conference to mark the end of fact

16    discovery.    And so, you know, even before we get started,

17    let me just say to counsel and to the parties generally, you

18    know, this has been a long road, and I recognize that it

19    hasn't been a road free of bumps and bruises, and certainly,

20    I'm sure, there are more of those that you have than are

21    actually visible to me.

22                But, nevertheless, I really do want to commend

23    everybody, not just the counsel on this call but everyone

24    that's involved in this case.        And, you know, really, this

25    is a Herculean task to have done as much as you have in the
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1     short period of time you've done it, and done in it in a way

2     that, I think, has largely been cooperative and very

3     professional from my standpoint and my perspective.            So

4     I want to commend all of you, thank you, and congratulate

5     you for sort of hitting this milestone.

6                 So let's then move on to all the disputes that we

7     still have.     Let's just begin with where we usually do with

8     just a general update on discovery.         I know we're past the

9     fact deadline, but I suspect there are still some

10    outstanding productions and other matters that are due, so

11    perhaps we can just touch on that and where the parties are

12    on those topics.

13                Mr. Dintzer, do you want to get started?

14                MR. DINTZER:     Yes, Your Honor.     And good

15    afternoon.

16                And we appreciate the efforts that you've put into

17    shepherding this thing forward, which I'm sure, with our

18    monthly calls, you may not look forward to it as much as

19    everyone else.

20                We have noticed and completed 78 fact depositions

21    of the 80 that the Court allocated to us.          That included

22    72 individuals under 30(b)(1), five 30(b)(6) notices to

23    Google, which amounted to about 35 hours, and one 30(b)(6)

24    notice to Apple, which amounted to about four hours.             So we

25    are done with those depositions.
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1                 The parties are continuing their negotiations

2     regarding responses to various discovery requests.            These

3     are all requests that were, of course, timely issued in fact

4     discovery and which the parties had some differing points of

5     view but chose to negotiate and work through them and we are

6     in the process of working through them.

7                 So there are ten RFPs that are still the subject

8     of ongoing negotiation/productions.         There's one RFA, set of

9     RFAs, that we got responses recently and that we are working

10    through.

11                There's one set of interrogatories and one set of

12    contention interrogatories that are all sort of still on the

13    table between the parties.

14                We're making every effort to go as fast as we can

15    to get those resolved and get the documents and information.

16                THE COURT:    Can I just ask quickly:       When you say

17    "one set of interrogatories," are you referring to multiple

18    interrogatories within a particular interrogatory request,

19    group of interrogatory requests, or are you referring to

20    just one interrogatory?

21                MR. DINTZER:     One set within.

22                THE COURT:    Okay.

23                MR. DINTZER:     We issued them sort of in groups.

24    And the fourth set of interrogatories that we sent out,

25    there are some outstanding issues, two of which are actually
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1     teed up in this.

2                 THE COURT:    Okay.

3                 MR. DINTZER:     And then there's one set of

4     contention interrogatories again, which there are some

5     issues that we are negotiating and working our way through.

6                 THE COURT:    Okay.

7                 MR. DINTZER:     Let's see.

8                 Google continues to produce de-privileged

9     documents as it continues its re-review.          We received 8,232

10    of these on May 7th after the close of fact discovery, and

11    we received 3,471 this morning.

12                So it is unclear to us exactly what portion of the

13    re-review these relate to, we appreciate whatever they're

14    looking at, but they are still coming in, and we are, of

15    course, still needing to review those.

16                Once we have a full set and we are done with the

17    re-review, then we'll determine if we need to re-open

18    depositions.     Right now it's looking like, at least some,

19    given the quantity of documents for certain individuals,

20    might need to be re-opened for the documents that have been

21    de-privileged, but we haven't made any decisions and we

22    really can't until this process is done.

23                Regarding privilege logs, over the course of

24    discovery, Google produced a number of individual privilege

25    logs sort of on a rolling production, I believe they counted
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1     to 17 total.

2                 Because of de-privileging and because of overlap

3     and changes in position on various things, they became

4     outdated and inconsistent.        And so we asked, and Google has

5     produced on the last day of fact discovery, what they call a

6     consolidated privilege log which we are just getting into,

7     but was supposed to sort of update -- when they de-privilege

8     things, we didn't have a corresponding way of knowing what

9     was coming -- what was being cleaned up in the privilege

10    logs.    And so it was -- I mean, we couldn't really go

11    forward with any sort of questions until we had this

12    consolidated log.

13                So now we have this.      Google has said it's not

14    necessarily their final log, but it gives us something that

15    we can search through and see if we have any other issues on

16    the privilege front.

17                THE COURT:    Mr. Dintzer, and we'll have sort of a

18    conversation about this later on, but how many --

19    do you know the number of withheld records on the last log

20    that you received, what that total is?

21                MR. DINTZER:     I don't have it in front of me, but

22    I should be getting a text relatively soon.

23                450,000 is our estimate.

24                THE COURT:    450,000 withheld documents?

25                MR. DINTZER:     I'll check that number, but
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1     I believe --

2                 THE COURT:    Okay.

3                 MR. DINTZER:     Withheld or redacted.

4                 So some of those may be produced -- I mean, a good

5     set of them may be produced and redacted.

6                 THE COURT:    Okay.

7                 MR. DINTZER:     Let's see.

8                 With respect to third parties, some third

9     parties -- not many, a handful -- have been unable to

10    complete their productions by May 6th.          We have extended

11    their production dates and expect to receive them shortly.

12    Some of these may have actually been completed, we just

13    haven't gotten notice that they're completed, but there's no

14    issues to raise on any of these right now.           So that's where

15    we are.

16                The only sort of non-disputed item that we would

17    want to call the Court's attention to at this point would be

18    that in providing the randomized selection of documents to

19    the Court in its April 19th letter, the letter itself is not

20    on the docket, and to the extent that it's non-confidential,

21    we think most of it, if not all of it, is non-confidential,

22    it should probably be part of the public docket, and so we'd

23    ask the Court to arrange for that.

24                THE COURT:    Okay.

25                All right.
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1                  Okay.   Well, look, that largely -- it's not

2      surprising that there are some loose ends, but I'm glad to

3      hear that you all are continuing work through them.

4                  All right.    Let me turn to Mr. Sallet and get his

5      update on the world.

6                  MR. SALLET:    Well, perhaps only on this case,

7      Your Honor, if that would be okay.

8                  THE COURT:    Yeah, that's a longer conversation.

9                  MR. SALLET:    Yes, it would be.

10                 Your Honor, of course, much of what Mr. Dintzer

11     said needs not be repeated, the number of depositions and

12     such which are completed.       So let me just note a few factors

13     that are dealing with our discovery.

14                 We are working with Google to work to finish out

15     issues so that the Google production will be done soon,

16     among the issues on which we're working are a series of RFPs

17     and interrogatories.

18                 But let me just note one point about the so-called

19     de-privileged documents, the 8200 that Google produced last

20     week and almost 3400 today, we are all also reviewing them.

21     We are also reviewing them for the possibility that we would

22     seek to re-open a deposition.        Obviously, we would work with

23     the Department of Justice if such a request were made.

24                 It is to be noted that although these are

25     de-privileged documents, it does not mean they are without
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1      redactions.    So we've looked at a number of documents that

2      have substantial redactions, thus our review of these

3      documents also will include any issues around the redactions

4      and whether they are, in fact, justified.          But, as

5      Mr. Dintzer said, our goal is to finish this up soon after

6      we know that the completion of the de-privileged process has

7      taken place.

8                  On our own interrogatories, you know, we've

9      worked, of course, jointly with the Department of Justice,

10     but there is some in which we've put particular emphasis.

11     There's a sixth RFP which seeks certain kind of advertising

12     data.   Google has intended -- said it intends to produce

13     some of the data or all of the data, we're waiting to see,

14     but Google is working on that and we look forward to seeing

15     what is provided.

16                 We've had a meet-and-confer with Google regarding

17     some of the interrogatory responses to the plaintiffs' third

18     set of interrogatories.

19                 I might note, Your Honor, the way we're numbering

20     these is jointly between ourselves and DOJ.          So there might

21     be a third set that's largely ours, a fourth set that's

22     largely DOJ.    We're using a common numbering through these

23     so they're not duplicative.

24                 We expect to supplement from our third set from

25     Google through at least some of the issues we raise and
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1      continue to discuss if we think there are issues that have

2      not been addressed.

3                  There were also fact contention interrogatories

4      and requests for admission where our responses were due

5      May 4th.    We have questions about some of them.         We think

6      Google has made some refusals that will not be proven

7      justified.    So we asked today, in fact, for a

8      meet-and-confer which I'm sure we'll have with Google in

9      short order and we hope to work this through.

10                 On to third-party questions, just to note that we

11     and Google are also working, as the Department of Justice

12     is, on making sure these materials, which we don't think are

13     a large set of materials, are produced in short order.

14                 One point I would like to note, we'll be getting

15     into some contested issues later, but let me just note that

16     for us, and, perhaps, in particular, the question of data

17     has been very important, we've been talking about this at

18     status conferences since last summer -- and a great deal of

19     data has been produced.

20                 In fact, there was a request for data that we made

21     in November and Google responded to in January.           Just last

22     week, Google produced some corrected data.          Now, that's to

23     Google's credit.     There were errors in the data.        We, in

24     fact, were about to raise the issue with Google when Google,

25     on its own, corrected the data.        We think that was
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1      appropriate and we're appreciative.

2                  I do want to note, however, that as we think about

3      discovery and issues around that going forward, to the

4      extent they exist, the question of datasets are to be taken

5      into account.     It's not just about a document here or a

6      deposition there.     The datasets can be complex.        And in this

7      case, it took some months for either Google or we to

8      recognize that there were errors, and that is illustrative

9      of the nature of the complexity of that kind of information.

10     So with that, Your Honor, I've completed my description of

11     the world as it applies to this case.

12                 THE COURT:    Thank you, Mr. Sallet.

13                 Okay, Mr. Schmidtlein.

14                 MR. SCHMIDTLEIN:     Good afternoon, Your Honor.

15                 THE COURT:    Good afternoon.

16                 MR. SCHMIDTLEIN:     Just a couple things to,

17     I think, echo both your remarks and some of my colleagues'

18     remarks.

19                 You are right that the discovery burdens here in

20     this case have been rather extraordinary.          I think at last

21     count between both DOJ and the Colorado Plaintiffs, they had

22     issued 20 different sets of RFPs.        The number of requests

23     included within those RFPs were over 300 individual RFPs

24     that, when you count up the subparts, were over 900

25     individual or subparts of requests.
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1                  These RFPs have -- as you remember, Your Honor,

2      there were a set of very, very large RFPs served right out

3      of the box in this case in January of 2021, and with your

4      helpful guidance, we sort of got -- we got our sort of

5      marching orders to go off and address those.          There were

6      about 70 RFPs each from Colorado and the DOJ at that time.

7      But after a slight lull after that period, sort of going

8      back to last summer, we have been receiving RFPs from one or

9      the other or both of the plaintiffs almost every month.

10                 And I think -- although I know from your vantage

11     point, you know, there have been disputes that we've had to

12     bring to you from time to time.        But given the number of

13     RFPs that have been a constant drum beat throughout the

14     case, I actually think that we've done a fairly decent job

15     in limiting the number of things that you have had to devote

16     your time and attention to.

17                 I will note that notwithstanding the fact that

18     this has sort of been permitted, that -- this sort of drum

19     beat of RFPs, we have continued to get and got up until

20     very, very late in the discovery period, and by that I mean

21     middle of March through the end of April, we received --

22     beginning in the middle of March, we received from the DOJ a

23     10th RFP, then later in March an 11th RFP, at the end of

24     March a 12th RFP, and then on April 5th a 13th RFP.            From

25     Colorado, we received on March 21st -- March 23rd a sixth
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1      RFP, and then on April 4th we got their seventh RFP as well.

2      We also during this time period received numerous sets of

3      interrogatories, and we also received requests for to -- for

4      admissions.

5                  So we have had quite a bit of activity here,

6      I would say, in April and early May, in terms of serving

7      response, objections to those, meeting and conferring, and

8      trying to address outstanding issues, while at the same time

9      navigating what -- I'm sure you can imagine the deposition

10     schedule that we were dealing with in the last couple of

11     months as we tried to finish up the bowl of those.

12                 So I certainly concur with your remarks, thanking

13     everybody on both sides of the "v" for all the work done,

14     and certainly all the colleagues on my side who have spent a

15     lot of time trying to kind of faithfully respond to these.

16                 Just in terms of a couple of things to respond to

17     the remarks about the recent privileged document productions

18     and supposed potential requests for the opening of

19     depositions, we're obviously not here to argue about whether

20     depositions could or should be re-opened, we will deal with

21     those if and when a request is made and we can evaluate sort

22     of the bases for it.

23                 I will say that I think the production that

24     occurred today, I think, is largely a collection of

25     documents that were lesser threads of documents that had
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1      previously been produced.

2                  I know that you may recall, Your Honor, we

3      explained in our letter to you when we produced the sample,

4      that there were some threading issues that we were still

5      working through since the last hearing.

6                  By that I mean, we have been trying to expedite

7      for production, as part of these re-reviews, sort of the

8      full thread, we can identify those, because the lesser

9      threads are just sort of smaller pieces of the larger thread

10     of an email.    I think some of these that are getting

11     produced today are sort of the lesser threads, so sort of

12     felling out the production that they've gotten in the past,

13     the fuller thread.

14                 And then the prior production of documents that

15     occurred on May 6th were part of an ongoing evaluation and

16     review, not in response to any of the plaintiffs' specific

17     requests for re-review as part of categories, but things

18     that we have been trying to do as we have gone back and

19     compiled our logs to try to faithfully execute and not have

20     ongoing disputes about privilege issues.          So we have thrown

21     back additional documents where we believe it makes sense

22     and we think the privilege claims are not worth continuing

23     to assert.

24                 Last point on the privilege-log question, I do

25     disagree with Mr. Dintzer's -- I think what he is trying to
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1      suggest is that somehow, until we have stitched together all

2      of the individual volumes of privilege logs we have provided

3      to them -- because as we've gone through this process -- and

4      I believe this was set out as part of the CMO -- the way

5      this worked was, if we made a document production on, let's

6      say, July 1st, after we've gone through, as part of the

7      review that that had occurred up until this time, we would

8      produce a privilege log that sort of corresponded to that

9      production.

10                 We might not be done -- as you remember,

11     Your Honor, you set certain benchmark dates for us to

12     complete, particularly with respect to that very large first

13     set of RFPs.    And as we would make these periodic

14     productions pursuant to some of those deadlines, we would

15     produce additional separate logs that would go with that

16     production.

17                 And DOJ has asked, well, gee, can you now sort of

18     stitch together all of the privilege logs that you've been

19     producing kind of all along into one big log.

20                 And as we did do throwbacks or as in response to

21     requests for re-review, we would identify for them, hey,

22     this is a document that was from this log.          We weren't

23     producing sort of new logs every single time we did a

24     throwback.

25                 To the extent that Mr. Dintzer is now trying to
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1      suggest today that, gee, I couldn't really evaluate, you

2      know, whether I wanted to challenge something on a log until

3      I got this sort of consolidated single log, that's wrong,

4      that's absolutely wrong.       They've been getting logs every so

5      often for many, many months throughout the case.           And the

6      notion that, gee, until I got this consolidated log, that

7      they finally asked for in March and we produced in May, that

8      I couldn't really figure out what I needed to challenge, is

9      obviously wrong, because they've been making challenges and

10     we've been dealing with them on challenges throughout the

11     lawsuit.

12                 And to the extent -- you know, there was a

13     question raised about, are we going to produce, you know, a

14     subsequent log, the answer to that is yes, because, I think

15     as I just laid out for Your Honor, we've received document

16     requests up through the end of March and the beginning of

17     April.   So we've tried, as best we can, to get everything

18     out and produced in response to those, but they're, as is

19     always the case, particularly on these types of tight

20     turnarounds, there's going to be sort of cleanup needed to

21     be done, and particularly with respect to privilege.

22                 So, yes, there are still documents out there that

23     are going to need to be processed and added to the privilege

24     log, but I can tell you I've got a team of people working on

25     that as fast as we can and we are -- I am hopeful that we
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1      are going to have any and all final logs done -- we are

2      aiming to get those done by the end of May.          But, you know,

3      obviously that's a process, because we're still working on

4      and meeting and conferring with them over the scope of

5      exactly what it is we're going to search, and that's going

6      to affect the timing of final privilege determinations.

7      Thank you, Your Honor.

8                  THE COURT:    All right.    I appreciate that.

9                  And, you know, I'm not -- let me just say, it

10     doesn't surprise me that privilege logs lag the production.

11     That's not the least bit unusual for logs to lag the

12     production.

13                 So I'll just make the following observation, which

14     is that, you know, my hope is that, as you all have really

15     tried to do and have done quite well, I think, continue to

16     try and cooperate on some of these issues.          You know, we're

17     just going to have to figure out the timing, frankly, of any

18     disputes that come up post-discovery and how and when we

19     deal with them.     And we'll get to that in a moment in terms

20     of how we go -- what makes the most sense of trying to

21     handle these issues.

22                 All right.    Well, let's start with the

23     cut-off-date issue.      And I think I'll just sort of do what I

24     often do, which is to share my observations with you and

25     then get your reaction to these thoughts.
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1                  And let me just start with the idea of, you know,

2      I've made this observation before and it's hardly a terribly

3      profound one, which is, these kind of cases are different

4      than the ordinary 98 percent of the civil cases we get,

5      because those cases are all retrospective, right, they're

6      about events that are frozen in time and so we don't have to

7      worry about something like a cut-off date because new

8      evidence is being generated.       That just rarely happens in

9      most civil litigation.      And so, you know, the issue of the

10     cut-off is not an unreasonable one, and I can understand why

11     it's being requested.

12                 And the question is sort of how we deal with this.

13     And on one hand, the date that the DOJ has proposed, I'm not

14     quite sure there's any particular magic to the date other

15     than it's a nice number at the end of a particular calendar

16     year, and I understand it doesn't necessarily foreclose

17     other documents from being in the mix so long as they're

18     produced by a date certain.       At the same time, you know, I

19     think -- so that's one observation.         So I'm not sure there's

20     a magic to the particular date that the government has

21     suggested or the plaintiffs have suggested.

22                 The second observation really deals mainly with

23     Google's proposal, which is, well, let's just take this as

24     it comes.    And here's my concern about that, and it's

25     essentially twofold; one is, I think what I find troubling
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1      is it feels a little asymmetrical to me in the sense that if

2      something comes up that Google thinks is relevant and most

3      likely favorable, it's something they can identify after a

4      particular date or on an ongoing basis.          And, okay, perhaps

5      there's some discovery follow-up to that as a remedy, but,

6      again, that sort of puts Google, if you will, in a position

7      to -- I don't mean this pejoratively -- sort of

8      strategically think about what they'd like to bring forward

9      based upon the value of the record and the potential

10     discovery it might give rise to.

11                 And in that sense, the sort of proposal that

12     Google is putting forward is asymmetrical.          And, you know,

13     the plaintiffs at the same time are not able to continue to

14     ask for relevant documents on a going-forward basis.            And

15     maybe, Mr. Schmidtlein, I'm misunderstanding what you've

16     proposed, but that's my concern, sort of leaving things

17     open-ended, that's one concern.

18                 The other concern is just, you know -- is what it

19     will do to our schedule and sort of the potential ad hoc

20     quality to it.     We've all been -- I think we've operated

21     successfully with deadlines.       And having just sort of an

22     open-ended perhaps there may be evidence that's relevant

23     that comes up after -- up to and including -- up to the time

24     of trial, you know, has its drawbacks from an efficiency and

25     case-management standpoint.
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1                  So those are sort of my general thoughts about

2      what you all have brought to -- about the issue.           So why

3      don't I actually start with Mr. Schmidtlein, and you can

4      correct me if my understanding of what you've proposed is

5      incorrect and my concerns may be overblown.

6                  MR. SCHMIDTLEIN:     Thank you, Your Honor.

7                  I think you've described it correctly, sort of

8      where I think the parties are.

9                  I think from our perspective, you know, there's no

10     present intention on our side; we're perfectly happy with

11     the record where it is right now.        On the other hand, we

12     also know that these types of industries are very dynamic;

13     things sort of can change, and, you know, we can't always

14     predict sort of how things are going to change.

15                 And as -- you know, I appreciate your sort of

16     description as this being kind of asymmetrical.           The

17     discovery in this case has certainly been asymmetrical to

18     date.   And so, you know, nobody wants to re-open discovery

19     less than my client, given the burdens and expenses that it

20     has shouldered thus far in the case.

21                 I think on the other hand, I think our view is

22     simply that you shouldn't sort of set down a hard, fast rule

23     saying, you know, absolutely, positively kind of anything

24     and everything is off the table post either, I guess,

25     December of 2021 for certain types of things, although
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1      I think now in the way the plaintiffs have characterized it

2      in their submission is, well, if anything comes in after

3      that date or things that got produced into 2022, if they

4      were produced during the discovery period, then those are

5      obviously fair game, too.

6                  I think our view simply is, you know, I don't

7      think anybody right now has any present intention of relying

8      on or using -- going fishing for new documents or data sort

9      of moving forward.      But if something, you know, important

10     were to come up or some issue were to arise, I don't think

11     we want to foreclose the ability to do that, because, as

12     you've noted in a case like this where it's very

13     forward-looking, it could be, I think, a mistake, for the

14     Court to kind of close itself off from subsequent things

15     that may well be relevant.

16                 And we would certainly recognize that if and when

17     somebody wanted to come and do something, it better be

18     pretty narrow, it better be justified, and you better be

19     prepared to deal with some sort of discovery around it on a

20     fairly expedited basis.       I mean, I certainly understand and

21     recognize, you know, those potential consequences.

22                 But it did feel a bit draconian to us for the

23     Department to come forward, after having done all this

24     discovery, and say, okay, Google, you're going to stipulate

25     now that everything going forward is out, and we just don't
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1      think that's an appropriate thing to do at this point in

2      time.

3                  THE COURT:    Okay.

4                  Mr. Dintzer, Mr. Sallet --

5                  MR. SALLET:    Yes.

6                  THE COURT:    -- let me understand why any date here

7      is really relevant other than the discovery cut-off date?

8                  In other words, I mean, you all have asked for the

9      refresh of materials, those refresh requests have come after

10     December 31, 2021, and presumably are -- I don't know

11     whether they are refresh requests that go up to the

12     discovery deadline.

13                 But I guess I'm not quite clear on why, to the

14     extent there is a "cut-off date," it's simply just not the

15     end of discovery.     In other words, if a document is

16     produced -- excuse me, is created on May the 5th, it is part

17     of the relevant evidence in the case that should be arguably

18     produced.

19                 MR. SALLET:    Yes.

20                 THE COURT:    If it was produced on May the 8th,

21     it's not.

22                 And that seems to me to be far simpler than what

23     you all have proposed.      And we can then talk about what

24     Mr. Schmidtlein is proposing, is whether this is a hard and

25     fast date or something that has some flexibility to it.
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1                  MR. SALLET:    Your Honor, it seems to us -- and we

2      are not speaking to the Department of Justice -- there's a

3      very straightforward approach here.

4                  Your Honor has set a cut-off date.        That's the end

5      of fact discovery.      Your Honor has recognized that May 6th

6      was not, in all respects, practicable as the earlier

7      conversation indicated.       So we should set a date,

8      we believe, by which Google has to complete its production.

9      We agree with the Department of Justice that May 23rd is a

10     good date.

11                 Remember that at the last status conference when

12     Your Honor said that there could be a continuation after

13     May 6th for some period of time, Your Honor emphasized the

14     need to get that done in time for, you said, expert reports,

15     summary judgment, and trial.

16                 THE COURT:    I guess there's -- I could see the

17     advantage of that from the Department's standpoint.

18                 MR. SALLET:    Yes.

19                 THE COURT:    But isn't there a disadvantage in the

20     following sense; that aren't you setting up an incentive

21     here for the potential for -- again, I'm not suggesting this

22     is going to happen, but you've suggested as if some

23     favorable document happens to get produced after May the

24     23rd, just by dint of the process --

25                 MR. SALLET:    Yes.
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1                  THE COURT:    -- maybe it's responsive to a very

2      late RFP --

3                  MR. SALLET:    Yes.

4                  THE COURT:    -- or -- you seem to be suggesting

5      that that document that might be favorable to the

6      plaintiffs' case would fall outside the record, unless you

7      came to the Court and said, you know, Judge, we'd like this

8      now to be part of our record.

9                  MR. SALLET:    Your Honor, I'm not being clear about

10     that.

11                 That's not my proposal.      My proposal is we set a

12     date by which Google has to complete all of its discovery

13     obligations, because, of course, we have to have the ability

14     to use documents that Google produces whenever they are

15     produced.

16                 But given the fact that the first expert reports

17     are going to be filed less than a month from now on June the

18     6th, and we've ran into a set of reports over the summer, it

19     seems to us that it is in the interest of the litigation to

20     have expeditious closure of Google's obligations.

21                 So to be clear, Your Honor, we agree with you,

22     we're seeking a date certain by which we would all know that

23     everything was produced, and so we would know what we could

24     rely on.

25                 But, Your Honor, yes, should there be a motion to
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1      compel that follows that, should there be a discovery --

2      I don't mean that in a technical sense -- that some document

3      wasn't produced that should have, yes, our position is that

4      all documents that are responsive to timely filed discovery

5      requests be usable by the parties.

6                  Now, Your Honor, as to the point that

7      Mr. Schmidtlein makes, of course Google has an opportunity

8      later to, for good cause shown, to say why a document or a

9      dataset should be allowed.

10                 Google's submission here makes it sound as if

11     there would never be an opportunity, no matter what the

12     circumstances, to even approach the Court.          We don't think

13     that's reasonable.

14                 But we do think, Your Honor, that the burden needs

15     to be on Google to show why, at a late date, new materials

16     should be entered into the case, because it is, as you say,

17     an asymmetrical world in which Google would be creating, as

18     well as suggesting the use of, these materials, and there

19     would not be a reciprocal ability on our part to see

20     whether, concomitantly, at the same moment, there are

21     materials that would be favorable to our case, and that, we

22     think, should be avoided.

23                 THE COURT:    Well, look, if what you're asking for

24     is framed in the way that you've put it, I'm not sure

25     Mr. Schmidtlein would necessarily disagree.
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1                  I mean, if what you're asking for is a deadline or

2      a date estimate by which -- Mr. Dintzer at the start of this

3      identified a host of open items, you know.          If you all want

4      a deadline by which those productions would need to be

5      completed, I'm happy to set it, one that's reasonable and

6      one that's manageable.

7                  You know, some of that is driven by your own

8      negotiations, obviously.

9                  MR. SALLET:    Right.

10                 THE COURT:    And so setting a date, particularly

11     one that's only 11 days away, I'm not sure is realistic,

12     particularly given at least one of the -- the one dispute

13     I'm aware of.     And if I were to sort of fall on the

14     plaintiffs' side of it, I can't imagine the data that you're

15     asking for is something that can be produced within the time

16     that you're contemplating.

17                 So I mean, if what you all want is a date, I'm

18     happy to either pick one that you think is reasonable or

19     have you all discuss what you think is reasonable.            And with

20     the idea that, look, these dates in cases like this, you

21     know, it's harder as a judge to hold parties -- and really

22     it's the defendant -- in a case like this to a deadline,

23     given the volume of discovery.        I mean it really is.

24                 I mean, this isn't a case where it's a small case

25     where you've got to collect a handful of materials and if
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1      you don't produce it by a date certain, you're out of luck.

2                  But I can set reasonable deadlines.         And if you

3      all have one that is reasonable, and I don't know that

4      May 23rd is given the sort of punch list of items that are

5      still left to resolve, I'm happy it to set it, I just need a

6      sense from you of what you think a reasonable date is.

7                  MR. SCHMIDTLEIN:     Your Honor, you know, I think

8      you put your finger on the issue.

9                  I mean, we have -- as you recognized, we've got

10     one dispute today that, depending on how you're inclined to

11     resolve that, you're absolutely right, that's not going to

12     get -- that's not going to be tied up by May the 23rd.            And

13     we've got a series of other things that are still being

14     discussed that could also impact that date.

15                 I mean, we got -- on March 31st, we got 22 RFPs

16     from the DOJ.     And on April 4th, we got 17 RFPs from the

17     Colorado group.     On April 5th, we got four more from the

18     DOJ.

19                 Now, I mean, those are -- that's basically, you

20     know, almost 50 RFPs about five weeks from the close of fact

21     discovery.    So we're in a situation where saying, oh, three

22     weeks after that you have to be done with everything is just

23     not going to work.

24                 I'm happy to talk with Mr. Dintzer and Mr. Sallet

25     and have our teams, as we work through the rest of these
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1      issues, try to see if we can come up with a reasonable date.

2      And some of that may not be possible until, you know, we get

3      your assistance to resolve whatever outstanding disputes we

4      have.   But we will, as we have throughout this, we will work

5      diligently to hit any deadline you set for us, and I think

6      our track record in this case has been pretty good in that

7      regard.

8                  MR. DINTZER:    If I could be heard on this,

9      Your Honor.

10                 THE COURT:    Sure.

11                 MR. DINTZER:    So we agree with the concerns about

12     asymmetry; we agree that the cut-off is a good idea.            We

13     want to make sure that we get the documents and data that

14     we're entitled to under the items that we're still working

15     on.

16                 The reason those haven't bubbled up to the Court

17     is because we haven't hit impasse, we're still working on

18     them, and so we want to make sure that we get them.

19                 We agree with Mr. Sallet that we should have sort

20     of a fire underneath to get the things done as quickly as

21     they can without leaving anything on the table that we're

22     entitled to.

23                 And, finally, to circle back to the question of

24     cut-off, we think that the way that Your Honor has described

25     it is something that we're comfortable with, which is that
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1      the documents that we get in fact discovery, which is

2      basically what we got through May 6th, plus what we're

3      trying to finish up getting, plus whatever ultimately might

4      have to be compelled from the defendants if we don't get it

5      that might take some extra time, that should be the dataset

6      and the document set that the parties litigate with.

7                  We tried to do that -- one of the concerns, just

8      so you understand sort of the extra verbiage in our proposed

9      request is, what Google said to us in -- during fact

10     discovery is that they had done their last gathering of the

11     documents on December 31st, 2021, and they weren't going

12     back and getting more.      And so as far as refreshes go, we

13     weren't going to get a refresh after that.

14                 So if one of their employees, Mr. Varian, wrote

15     something in January of 2022, we were not -- it wasn't going

16     to come to us because they weren't going to gather it, they

17     weren't going to run search terms against it.           And so that's

18     why there's a little bit of a dichotomy -- and I'll plead

19     guilty for our proposed order not being the model of

20     clarity -- but a little bit of a dichotomy.          They stopped

21     collecting those types of documents and wouldn't refresh

22     after December 31st, 2021.

23                 But they are continuing to get either from that

24     master set or I don't know if they're going back, I don't

25     think that they are, maybe they are for a few things, a few
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1      items.    And so we tried -- that's what you're seeing there.

2                  But ultimately what we're looking for with respect

3      to the cut-off is a -- you've given it to us, this can be

4      used by both parties, and in fact discovery or the cleanup

5      after fact discovery and everything else can't be.            That's

6      what we're looking for.

7                  THE COURT:    So, look, I think this is, perhaps,

8      not as complicated as it may have seemed at the beginning,

9      which is, you know, I can set 30 days out from today, but,

10     again, that seems to me to be arbitrary in the sense that

11     I don't have a full understanding of the volume of materials

12     that are still outstanding.       You know, you can tell me

13     there's ten RFPs, but I don't know whether that's millions

14     of documents or ten documents.        And so, you know, I'm just

15     trying to be mindful here that any date I set is going to be

16     arbitrary at this point without an amount of understanding

17     that you all have with respect to these issues.

18                 So I think bottom line is this.        I think we are

19     all in agreement that the record cut-off, if you will, is

20     the end of fact discovery, documents that pre-exist the

21     record -- the fact discovery date of May the 6th, that's our

22     record.

23                 But, look, I agree with Mr. Schmidtlein that I've

24     got to have some flexibility on this, and the reason for

25     that is the nature of the case.        You know, you're going to
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1      ask me to impose -- to make a liability finding as of the

2      time of trial.     And given the nature of what this case is,

3      it's possible that things could change, I mean -- and I

4      don't want to shut off that possibility.

5                  MR. DINTZER:    Well --

6                  THE COURT:    And -- hang on -- truthfully, it could

7      change to plaintiffs' advantage, it could change to Google's

8      advantage.

9                  MR. SALLET:    Right.

10                 THE COURT:    And so if there are things that

11     happened, and, undoubtedly, those are, I think, the kind of

12     things you all are conceding are likely to be public --

13     publicly known and public events, you know, we'll just have

14     to see what they are and whether they're the kind of thing

15     that ultimately are going to be relevant and worth bringing

16     to my attention at trial, okay?

17                 MR. DINTZER:    And that would be -- Your Honor,

18     that would be where the good cause shown that Mr. Sallet

19     says --

20                 THE COURT:    Right.

21                 MR. DINTZER:    -- I mean, I think we're all on

22     board -- we're calling it different things, but I think

23     we're all on board on that.

24                 THE COURT:    And I think that's the standard I

25     would use.
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1                  MR. SALLET:    Right.

2                  Your Honor, could I just -- excuse me;

3      I apologize; I didn't mean to interrupt you.

4                  THE COURT:    No.   Go ahead.

5                  MR. SALLET:    Just one small point just to get

6      ahead of something, May 25th may not be realistic, I take

7      Your Honor's point about that.

8                  One of the reasons that having this done quickly

9      is important is, of course, we're going to have a set of

10     expert reports with their own deadlines.

11                 So to the extent documents come later, however we

12     decide, however Your Honor decides to deal with it, I just

13     want to note that may lead to a circumstance, which we can

14     deal with, where there may be additional materials put in

15     subsequent expert reports or even the possibility of a

16     supplemental expert report to deal with information that

17     came in relatively late.        I don't think that would be

18     prejudicial to anybody, and I think the opportunity would be

19     open to all of the parties.        But I do want to note that

20     potential implication.

21                 MR. SCHMIDTLEIN:     Your Honor, just very, very

22     quickly.

23                 To the extent that late-producing material is the

24     response -- or is the result of the plaintiffs waiting until

25     almost the very last minute to serve document requests,
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1      I will be back to Your Honor arguing against supplemental

2      expert reports coming in after June 9 for things that they

3      should have asked about months and months and months before.

4      They're not -- they shouldn't be given or suggesting that

5      they're going to get extensions on that.

6                  The second point I just want to note here is,

7      I know we've been talking about this all sort of running in

8      Google's direction.      I assume that all of this also applies

9      towards any third parties who the plaintiffs may be working

10     with between now and the trial in this case; in other words,

11     people who have been feeding information to the plaintiffs

12     as part of this case should not be doing that willy-nilly

13     without producing that information or we're going to have

14     the same sets of concerns.

15                 MR. SALLET:    So, Your Honor, can I speak to

16     Mr. Schmidtlein's first point because he's made it several

17     times and I think it --

18                 THE COURT:    Hang on, Mr. Sallet.

19                 MR. SALLET:    Yes.

20                 THE COURT:    I guess I -- I don't want to continue

21     to -- I want to try and get to our other topics in a moment.

22                 Look, I think the bottom line in this, and this is

23     often the way things seem to get resolved, which is that if

24     you all want to come up with a reasonable deadline, you let

25     me know what it is and I will impose it as an order to give
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1      it a judicial stamp.

2                  Insofar as what those productions may mean for

3      expert reports and expert disclosures, let's just deal with

4      that down the road, let's not try and game out anything that

5      may or may not come to fruition, and all these things

6      ultimately are going to have to be fact dependent anyway.

7                  So, you know, bottom line is, I'm not foreclosing

8      any potential remedies, I'm not foreclosing any potential

9      consequences of timing either in terms of the requests or

10     the productions.     So let's just leave it at that.        And

11     I think that sort of is an apt segue into the next issue and

12     that is a deadline for motions to compel.

13                 Look, I think there is a benefit here to having

14     there be a deadline and having it be sooner than August the

15     4th.   I recognize that there are other -- you all want to

16     shift your attention to the experts and the expert reports,

17     but, nevertheless, I think having a date that's sooner

18     rather than later will actually get people focused on

19     getting fact discovery to an actual conclusion.           And the

20     sooner we have that date, which will include any motions to

21     compel, it also would reduce the likelihood that -- of the

22     kind of thing that Mr. Sallet is talking about, which is the

23     need for supplemental expert reports or revision of expert

24     reports or even, heaven forbid, the re-deposition or

25     continued deposition of an expert.
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1                  So I'm inclined to an earlier date than what DOJ

2      has set.    I'm also inclined, at the same time -- and,

3      you know, if there are to be motions to compel filed,

4      I think it is a relevant factor for me to consider when the

5      request was made, when the initial production was made, and

6      then when the issue has come up with respect to what is the

7      deficiency and when the motion to compel is filed.

8                  In other words, you know, look, I'm going to be

9      less receptive, I will tell you, to the motion to compel on

10     the first RFP than I'm going to be on the 14th RFP.            And,

11     you know, we've been meeting monthly for that very reason so

12     that, primarily the government, when it comes to Google's

13     productions and then all of you when it comes to the third

14     parties, can raise things in a timely way.

15                 And so I think what I would suggest is a date

16     sooner than what the Department has -- excuse me, the

17     plaintiffs have suggested, but one that's tied to whatever

18     production date that you all think is a reasonable one; in

19     other words, there's no sense in setting a motion-to-compel

20     date until we have a sense of what you all think is going to

21     be the reasonable date for the close of discovery.

22                 Now, I guess Mr. Schmidtlein's response to that

23     is, well, look, Judge, why -- if there's already a concern

24     about RFP 5, why can't they file that sooner rather than

25     later, and I think that's probably a fair concern.
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1                  My only -- the reason I'm reluctant to adopt

2      Google's proposal, and it's for the reason I think

3      plaintiffs have cited, which is that it's not going to be --

4      I'm not sure how clear it will be when the 45-day clock will

5      run as to any particular response, given that in a case like

6      this, you know, there's probably a good number of documents

7      that it's not clear what they're responsive to, perhaps

8      they're responsive to multiple requests.          You know,

9      interrogatory responses are obviously a little easier, but

10     certainly with documents, I think it's a little harder.

11                 So I think what I would like to see us do, if

12     everybody thinks this is acceptable, is to set a date sooner

13     than August, but near enough in time -- that's near enough

14     in time to get everybody focused on this issue, but a date

15     after -- a date that's reasonable after which you all have

16     been able to work through the remaining disputes and

17     Google's been able to make the productions that it is being

18     asked to make in response to those disputes.

19                 So thoughts on that approach?

20                 MR. DINTZER:    Your Honor, I think that that works

21     for us.

22                 If we're going to go -- it sounds like what we

23     need to do is -- I mean -- and whatever the cut-off is,

24     let's just say it's 30 days, say 45 days after that, because

25     we need to -- I mean, we get the documents and then we need
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1      to have a chance to look at them, they need to finish their

2      privilege log, at which they say that they're still going

3      to -- there's going to be another round, and we need to look

4      at that, they need to finish their re-review and we need to

5      look at what they're giving us.        And so we get all that done

6      in the next 30 days and then we have a chance to look at it.

7                  THE COURT:    Look, Mr. Dintzer, you are -- look, I

8      recognize that you're right, you obviously need time to

9      review whatever you get, assess it, and determine whether

10     it's deficient in some other way.        I'm not naive to the idea

11     that you're going to get some production or a response and

12     that's going to be the end of it.        There's undoubtedly

13     likely to be more follow-up.

14                 My point is simply this, which is that, you know,

15     as we've done throughout, having these deadlines is helpful

16     to focus you all and keep you all moving toward the ultimate

17     goal, which is getting to a trial next year, or more aptly

18     in the more near term, getting your motions for summary

19     judgment filed consistent with the schedule that we have.

20     And I really would like to avoid a situation which we're

21     fighting over a handful of documents that may or may not be

22     ultimately material to anything.

23                 And so, you know, the sooner we focus on what it

24     is that you think you're entitled to, what Google is

25     refusing to produce or vice versa, the better off I think
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1      everybody is going to be.

2                  I think we're probably at a place now where,

3      frankly, you all have -- there's been so much produced that

4      what's left, I wonder whether there's sort of a law of

5      diminishing materiality here in terms of what you're asking

6      for and what you're getting.       That's just my --

7                  MR. DINTZER:    I understand that.

8                  Sometimes, Your Honor -- and I will confess that

9      sometimes the bulldoggedness does take over when you're

10     doing this stuff.

11                 But also, quite honestly, Your Honor, sometimes

12     you don't understand what -- how important X is until you've

13     been through A through W.

14                 THE COURT:    Sure.

15                 MR. DINTZER:    And so perhaps 30 and 30.       I don't

16     mean to negotiate against myself, but 30 days to finish up

17     fact discovery and 30 more to file our motion to compel,

18     motions to compel, if those becomes necessary.

19                 MR. SALLET:    Your Honor -- sorry, Ken.       Sorry.

20     I apologize.

21                 Your Honor, that works for us as well; we agree

22     with you having deadlines is important.

23                 And I do want to say very briefly, this question

24     of filing late discovery requests, seems to me, blinks the

25     fact that we learned during discovery, because that's
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1      exactly what discovery was designed to do, to teach us about

2      the case and then be able to posit questions to issues that

3      had arisen from which, for example, we could not get a

4      response.    So Your Honor's approach, I think, is fair to

5      those requests and we -- sorry, Your Honor, I didn't mean to

6      interrupt.

7                  THE COURT:    That's okay.

8                  Look, I want to also be mindful -- look, talk to

9      Mr. Schmidtlein, I don't know that we need a publish

10     negotiation.    30 and 30 seems reasonable to me, but, again,

11     I don't have a sense of what kind of volume Google is still

12     being asked to produce.

13                 But I think you all also, I'd ask you to keep in

14     mind, the deadline for filing motions to compel, that only

15     just starts the clock, right?

16                 MR. SALLET:    Yes, Your Honor.

17                 THE COURT:    Then there are going to be

18     oppositions, then there are going to be replies, and I need

19     time to resolve it.

20                 And what I can tell you now is this:         It is going

21     to be very hard to get my attention in big chunks starting

22     at the end of August.

23                 And so if we can resolve as much of this as we can

24     before that time, all the better for everybody, because once

25     the end of August comes, my schedule is essentially -- I'm
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1      essentially -- if it holds -- I'm almost in trial every day

2      until the end of the year.       You know, January 6th is the

3      gift that keeps on giving for us.        So a lot of those trials

4      are set to come online, at least for me, toward the end of

5      the year.

6                  All right.    So with that, I think everybody has

7      kind of a framework.      I'll leave it to you all to sort of

8      hammer out the details.

9                  All right.    That brings us to the last of the

10     disputes, and that's the GDN refer data, which strikes me as

11     a not insubstantial issue.       But let me just give you my

12     reaction to it first and then we'll talk about how we can

13     work our way through it.

14                 You know, I will say this, that I guess -- I guess

15     two or three observations.       One is, these requests are

16     pretty broad.     You know, just the interrogatory 27 asking

17     for ten-years-plus worth of information about dashboards,

18     datasets that any employee of Google has used that contains

19     the information that you all are asking for and then the

20     sort of parallel request about how those dashboards and

21     datasets are calculated and then asking for records relating

22     to that.

23                 You know, we can -- I really don't want to get

24     into a dispute about when the plaintiffs ought to have known

25     about this and the significance of it and whether this is
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1      coming toward the end of discovery or whether it's timely or

2      not.    But regardless of that, let's put that to the side,

3      the requests, seem to me, fairly broad, that's one.

4                  Two, if what this is really about and what the

5      main focus of this is is to establish market share and the

6      question of market share, I'm asking myself out loud without

7      having any understanding of what you all have exchanged to

8      date is, how much more do you need?         In other words,

9      you know, you all have been at this for some number of --

10     for well over a year, undoubtedly there's been other

11     discovery related to establishing Google's market share, and

12     I wonder whether this is just sort of more of the same and

13     do we really need as much as you're asking from this set of

14     data.

15                 And the third thing is, and I guess it really is

16     related to the first, and that is, at least as presently

17     crafted, I do think there is -- you know, I have some

18     concerns -- I guess it's a combination of the two

19     observations -- which is about proportionality and burden.

20                 And that given what's been collected to this point

21     and whether given the need for what at least I understand

22     its relevancy to be, is, you know, to what extent is this

23     proportional to your current needs and is it worth the

24     burden it's going to put on Google, because at least as

25     presently framed, we're talking about -- I have no idea how
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1      many documents we're even talking about, particularly since

2      we're talking about 14 years' worth of records and uncapped

3      number of employees, and I don't have a sense of how many

4      people inside of Google use this data and use these

5      dashboards and datasets.

6                  It seems to me that you all -- that is, the

7      plaintiffs -- ought to be in a position at this stage of the

8      game to -- if this is that meaningful -- to be able to

9      identify a handful of these things that you think are

10     genuinely useful and unique in the -- not unique,

11     I shouldn't use that word, but that advance an important

12     part of your case in a way that other evidence has not to

13     date.   And, again, these are -- I know I'm speaking in broad

14     strokes because that's really the only way in which I can do

15     this given my limited knowledge of things.

16                 But, you know, as I read all of this, it struck me

17     that here we are post fact discovery, and this struck me as

18     requests that are likely to be quite substantial, at least

19     as presently framed.      And I was sort of questioning out loud

20     the extent to which they would advance an element of proof

21     that is undoubtedly already the subject of a fair amount of

22     discovery.    So those are my thoughts and I'll look -- hear

23     from the government -- hear from plaintiffs and get your

24     reactions to all of that.

25                 MR. DINTZER:    We appreciate that, Your Honor.
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1                  We think that --

2                  THE COURT:    Oh, and, Mr. Dintzer, I'm sorry, I

3      shouldn't have -- I apologize for interrupting.

4                  The final observation, thought is, and all that

5      has to be evaluated against what Google has already produced

6      about this data.     As I understand, they've actually produced

7      the raw data.     And I don't know how useful that is, but,

8      nevertheless, the actual raw data has been produced.            And

9      then there's been other related discovery or other discovery

10     about this data, including documents and deposition

11     testimony.    So I think that -- just to sort of complete the

12     picture in my mind of what -- how to move forward on this.

13                 MR. DINTZER:    And I appreciate that, Your Honor.

14                 And the requests are written broadly.         Generally,

15     this is -- our path has been for all of our requests,

16     because, of course, we don't always know what we don't

17     know -- so is to write them on the broad side and then

18     negotiate with Google, as they give us some information,

19     well, these three people would be the people, and this --

20     and then we have narrowed them, which is why -- I mean, to

21     be fair, you know, we have brought a number of things to the

22     Court's doorstep, but there are a lot of things we haven't,

23     in part, because Google has compromised some, but in part

24     because we've compromised.

25                 What's unique about this is that Google wouldn't
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1      negotiate on this one.      And so we are happy to negotiate a

2      reasonable path forward, but they're refusing to even meet

3      with us on these.

4                  So that's why -- I mean, they do seem broad and

5      that's why we don't have narrowing language, because we've

6      gotten no feedback on them except for the fact that in the

7      documents this information is viewed very high and I'm going

8      to call the source of truth.       So that's on the broadness.

9                  We are more than willing to narrow these as we

10     have, basically, every discovery request we've sent to

11     Google.    How much do we need them -- this is important

12     stuff.    I mean, this is -- you know, market share and market

13     definition, this goes to both, this is Google's internal

14     analysis of market share and market definition.           We have the

15     data, although it took a long time to get it, but the data

16     is the raw data, sort of what's coming in the door.

17                 What's really interesting -- along with the data,

18     but what's really interesting is what Google does with the

19     data and how they take the data -- and just as an example,

20     when they take this data and they create market share data

21     with this data, are they only looking at their competitors

22     who do general search like Bing and Yahoo!?          If so -- and we

23     suspect that that's the case -- that's a very important

24     fact.

25                 And so getting the formula that they use to go
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1      from raw data to search share, market share, is very

2      important.    And if they take this information, they put it

3      in really important reports that we may not have gotten yet,

4      that's important because it shows that they think it's

5      important.    So these are not small things.

6                  That said, we are completely on board to negotiate

7      with Google and narrow this so that it's -- they wouldn't

8      give us feedback about -- I mean, they wouldn't give us

9      anything, so we can't narrow without feedback from them

10     since it's their information.

11                 So what I would ask the Court is to say that we're

12     going to get something and to put us back in a room and tell

13     Google that they're going to have to give us some of this

14     and that we're going to have to negotiate it and hopefully

15     we can do it without bringing the Court back into it.

16                 MR. SALLET:    Your Honor, we agree with that.

17                 And just briefly, we think it's important for all

18     the reasons Mr. Dintzer said and for another one:           It will

19     be very important if ordinary-course documents from Google

20     show what it thought competitors were and what markets were

21     and how they should be defined.        If that's different than

22     what Google says at trial, knowing what happened in the

23     ordinary course would be extremely probative of both market

24     definition and market power.

25                 THE COURT:    Sure.
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1                  Look, as I said at the beginning, I don't dispute

2      the relevance of these records, at least based on how

3      they've been described.       I understand they go to

4      market share and market definition.

5                  My simple observation was, given where we are in

6      the stage of the proceedings, you know, are these a cache of

7      records that, you know, as I've sort of suggested earlier,

8      there's a diminishing return in terms of its materiality and

9      whether this is really cumulative of a fair amount that's

10     already been gathered.

11                 So, Mr. Schmidtlein, let me turn to you and get

12     your reaction to all of this and what you think.

13                 MR. SCHMIDTLEIN:     Thank you, Your Honor.

14                 This GDN data has been information that they've

15     had for quite a long time.       As you might imagine, they've

16     served CID requests asking for documents relating to

17     market share years ago, before the case was filed.            Right

18     out of the box, they served document requests, you know, in

19     January, asking for market share.        We negotiated with them.

20                 We produced documents referring to -- and reports

21     that made reference to this GDN data that went all the way

22     back to prior investigations.        So they've had knowledge

23     about and were -- you know, had various aspects and

24     documents that made reference to reports, to the extent they

25     relied on GDN data, during the pre-complaint investigation.
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1                  We then negotiated search terms with them, after,

2      you know, that massive January 2021 set of RFPs that

3      included market share, you know, 120-plus document

4      custodians.    So, once again, if anything related to this

5      sort of would have hit, they came up.

6                  Last fall, we produced a 30(b)(6) witness to

7      testify about market share.       They described and discussed

8      the data as well.

9                  THE COURT:    So can I just ask, Mr. Schmidtlein --

10     and to the extent that you have the information, I mean, the

11     way this thing is currently drawn, it was extremely broad,

12     and Mr. Dintzer has admitted as much, but, you know, "Each

13     dashboard dataset and recurring report."

14                 Do you have any sense at this point just how many

15     different reports that might even entail?          And if I can just

16     finish.   Is this the kind of data that an individual could

17     manipulate into their own dataset?         And if that's the case,

18     then arguably that is -- that's captured by this

19     interrogatory.     And maybe that's not what they're getting

20     at, but, nevertheless, it demonstrates the breadth of what

21     would be responsive.

22                 MR. SCHMIDTLEIN:     So, Your Honor, the answer to

23     your question is, as far as we can tell today, this is a --

24     as you say, this is a dataset that is accessible as of right

25     now, as far as we can tell, to 600 either individuals and/or
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1      groups of people with certain email aliases.          So

2      I don't have an actual number of total, but it's over --

3      it's hundreds and hundreds of analysts and engineers or

4      whoever can access the data.

5                  The data can be used for a whole variety of

6      things.   It's not like it's just a data source that people

7      use to calculate market share.        So sort of trying to sweep

8      up and even begin to think about and identify who might be

9      using it and for what purpose would be extraordinarily

10     burdensome.

11                 To the extent that somebody has used this to sort

12     of estimate and do reports looking at various sources of

13     traffic from search engines, you know, sort of things that

14     they want to call market shares, they've got those reports.

15                 Some of those reports have been produced and were

16     found in the files of the hundred-plus custodians.            And they

17     have gotten testimony about those.         And they've come back to

18     us and served RFPs saying, hey, we've noticed these types of

19     reports produced to us.       Go back and make sure you have

20     pulled every single one of these regular reports that we see

21     using the GDN data.      We've produced all of those.

22                 So right now, they're just sort of doing this,

23     like, massive, broad back sweep of, hey, is there anything

24     else out there that somebody might have been doing with this

25     data that somehow hasn't been caught up in this massive
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1      dragnet of other documents and data.         And to your question

2      of, do they have the underlying data?         Yes, they do.     So

3      their experts can go and do whatever calculations.

4                  We've also provided interrogatory answers where

5      the reports they do have, that do make certain estimations

6      and calculations, we've explained to them how those

7      calculations were done, and they've also deposed multiple

8      people with knowledge of these reports.

9                  This is absolutely sort of over the top and

10     unnecessary based on all of the information that we've

11     already provided.     That's why we sort of drew the line and

12     said, you know, you all have been mining this -- you know,

13     mining this forever and forever, and you've gotten

14     everything that you reasonably need to make your arguments

15     on this.

16                 MR. DINTZER:    Your Honor, could I just address

17     that?

18                 THE COURT:    Sure, quickly.

19                 MR. DINTZER:    I appreciate that.

20                 So just to be clear, we've asked for recurring

21     reports.    So if somebody sitting at their desk and they're

22     playing with the numbers and then -- you know, for their

23     own, we're not asking for that.

24                 THE COURT:    Well, I don't want to quibble with

25     you, but it's broader than that.        You've asked for each
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1      dashboard dataset and recurring report in which Google or

2      any of its employees used this data.

3                  MR. DINTZER:    Right.

4                  THE COURT:    It's not just -- which is why I said,

5      well, you know, are there some subset or some handful of

6      reports that really matter to you?

7                  MR. DINTZER:    Well --

8                  THE COURT:    They're not --

9                  MR. DINTZER:    But, Your Honor, that's the thing.

10                 See, we don't know.      When they answered -- okay,

11     so they mention the 30(b)(6).        Their 30(b)(6) witness

12     actually gave us incorrect information.          He said Google did

13     not systematically track market shares.          He said that Google

14     may have actually stopped collecting the GDN data.            And so

15     he put us in a different direction.         This was their

16     30(b)(6), he was supposed to know.

17                 And so we only got the actual data in March, even

18     though we started getting -- seeking it in August.            So the

19     fact that -- and they did write letters explaining what was

20     going on in the reports we got.

21                 THE COURT:    Yeah.

22                 I guess, Mr. Dintzer, here's where I am, which is,

23     I'm not going to say no at this point to compelling this,

24     but I'm not going to say yes to its current form.

25                 And if you can come up with a way that narrows
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1      this --

2                  MR. DINTZER:    Sure.

3                  THE COURT:    -- considerably and does not create

4      the kind of burden that I've heard Mr. Schmidtlein

5      describe -- so, in other words, we would be talking about

6      narrowing the number of dashboards, datasets, recurring

7      reports, the employees that look at them, you know, then we

8      may have something to talk about.

9                  But, you know, as of right now, the way this is

10     framed, it's a non-starter with me.         And so, you know, if

11     you want to go literally back to the dashboard but to the

12     drawing board and come up with something that is more

13     tailored and precise and Google still resists that, I'll

14     consider it, okay?

15                 MR. DINTZER:    I appreciate that, Your Honor.

16                 The one ask that I would have -- we will do that,

17     but the one ask that I would have is that as we're trying to

18     narrow it, if Google could be told -- if we ask for -- not

19     that -- but intermediate information to help us narrow it.

20     We had a whole big fight about hit reports, and the hit

21     reports allowed us to narrow what we were doing.

22                 If Google could be told, look, while the

23     plaintiffs are trying to narrow this if they have an ask

24     about to -- to get some information to help them, that

25     Google be asked to cooperate in that process.
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1                  MR. SCHMIDTLEIN:     Your Honor, may I --

2                  THE COURT:    I know what Mr. Schmidtlein is going

3      to say, which is that this has been going on for years, and

4      if they don't know what reports to ask for at this point --

5      I hear you, I hear you.

6                  Look, as I said, I have some skepticism that you

7      are not -- I mean, for example, just looking at

8      interrogatory 28, I don't know if one would describe those

9      as dashboards, the particular things you've identified, I

10     don't know what you'd call those.        But, nevertheless, you've

11     gotten to a point where you've been able to identify

12     something and highlight it as of particular importance.

13                 So at the end of the day, as I said, if you can

14     come up with something that's narrower and more precise and

15     Google is still resistant, then you can come back to me.

16     But, as I said, as of the way it's framed right now, it's

17     just too broad and I'm not inclined to ask Google to do a

18     whole lot more than that, okay?

19                 MR. DINTZER:    Thank you, Your Honor.

20                 THE COURT:    All right.

21                 Okay.   So I think that brings us to the end of the

22     Joint Status Report.      I'm just trying to organize my papers

23     here.

24                 I want to talk about just one thing I had brought

25     up some months ago and then there's the issue of the
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1      sanctions motion that I want to actually address.

2                  I had suggested some months ago that it could be

3      useful to me to get -- and I can't say I've completely

4      conceived of what it would look like -- some primer from you

5      all before the motions for summary judgment come in that

6      would help me just get a framework of -- to a factual

7      framework and maybe even an issues framework of -- the

8      bottom line is, I don't want to be in a position at the

9      summary judgment oral argument where I'm asking fundamental

10     basic questions and not using that time to ask more

11     meaningful questions, if that makes some sense.

12                 I mean, in other words, just something -- you

13     know, whether it's an afternoon, a day, whatever, in which

14     I am educated about how the particular search engines

15     operate, who you all think the competitors are, et cetera.

16                 And, again, I'm not being very articulate in what

17     my request is, but just something that would, I think, bring

18     me a little closer to the facts of the case and the specific

19     issues before I'm overwhelmed by what are undoubtedly going

20     to be substantial summary judgment papers.

21                 And I don't want to be in a position where I'm

22     learning lexicon and lingo for the first time in summary

23     judgment papers and then having to ask you about that at the

24     hearing, which I don't think is going to be terribly useful

25     for anyone.
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1                  MR. DINTZER:    Our --

2                  MR. SALLET:    Your Honor, may I suggest that -- you

3      have raised this, it is important.         Could the parties confer

4      and make a proposal to you at the June status conference?

5                  THE COURT:    Of course.

6                  Yeah, I wasn't asking for a solution today; I just

7      wanted to put it on your radar.        I know you've had lots of

8      other things to think about, so I didn't want to raise it

9      until fact discovery had closed, okay?

10                 All right.    The final issue -- I want to just

11     go ahead and resolve this sanctions motion.          And I know

12     doing it orally may not be great for posterity, but it's the

13     most efficient way I can think of to do it.

14                 Look, I had expressed the concern at the hearing

15     the last time as to what -- the extent to which I have the

16     authority -- under the scope of my inherent authority to

17     sanction for pre-litigation conduct.

18                 The parties then submitted to me cases that they

19     believe support their respective positions.          The government

20     cited a number of cases of Circuit Courts and District

21     Courts in which courts had exercised their inherent

22     authority to sanction pre-litigation conduct.           Google came

23     back and said, look, we haven't found anything that

24     resembles the facts of this case.

25                 I've looked at -- I've studied all the cases,
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1      particularly the Circuit cases.        And I think at the end of

2      the day while I agree with the plaintiffs that I do have

3      inherent authority to sanction for pre-litigation conduct,

4      no case has been brought to my attention that would involve

5      an exercise of inherent authority to sanction for this type

6      of pre-litigation conduct.

7                  And specifically what I say to you all is this:

8      The cases that you've cited, as far as I can tell, really

9      fall into two categories.       One, there are cases in which the

10     party, the bad actor is doing something prior to litigation

11     that relates to sort of the bringing, maintaining, or

12     defending of a specific litigation.

13                 You know, the Snyder case out of the Fifth Circuit

14     involved the plaintiff who worked with outside counsel to

15     develop a claim of breach -- excuse me, develop a claim

16     against the former employer, which was a breach of the

17     outside counsel's fiduciary duties to that employer.

18                 The Xyngular case, that's X-y-n-g-u-l-a-r, from

19     the Tenth Circuit.      Plaintiff worked with a company.

20     Employee had accessed records from the employer's server and

21     then used those records to bring and prosecute a lawsuit.

22                 Eagle Hospital case.      The plaintiff in that

23     case -- that's an Eleventh Circuit from 2009 -- the

24     plaintiff, over an 18-month period, surreptitiously acquired

25     attorney-client communications of the defendant before
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1      bringing suit and then used those records in court filings.

2                  Gas Aggregation Services decision from the Eighth

3      Circuit in 2006, it was a little bit of an odd case in which

4      the Court awarded attorney's fees as a sanction for a party

5      concealing the fact of a settlement that led to the

6      litigation -- led to the need for the litigation.           You know,

7      to state the obvious, that fact pattern doesn't fit what we

8      have here.

9                  The second general category of cases are the

10     spoliation cases.     And we have cases in which there is a

11     spoliation of evidence despite a party being in a position

12     to reasonably anticipate either specific litigation or

13     general litigation or that litigation will be on the

14     horizon.

15                 And specifically I'm talking about the Micron Tech

16     case from the Federal Circuit, where their company

17     implemented a document retention strategy of destroying all

18     documents but keeping the favorable ones; at the same time,

19     it was developing a litigation strategy to protect its IP

20     and that would sort of overtly frustrate its adversaries.

21                 Silvestri decision from the Fourth Circuit

22     involved the preservation of a car that was destroyed and it

23     had been given access to the plaintiff's experts, but the

24     car was destroyed before it became available to GM who was

25     the defendant in that case.
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1                  The Unigard case is like that, too, from the Ninth

2      Circuit, failure to preserve a heater, that, I think,

3      exploded on a boat.

4                  And then the Kromish case is from the

5      Second Circuit, you know, sort of falls into this category

6      where the files were destroyed, where the District Court had

7      found that litigation was foreseeable, even though I think

8      it didn't involve any particular litigation, whereas the

9      other cases -- at least two of the other cases did.

10                 You know, look, none of the cases in either

11     category really extend to the kind of situation we have

12     here, and that's even viewing the case favorably at this

13     juncture to the plaintiffs.

14                 And I will say this:      I would have even been

15     reluctant to go down this road notwithstanding my concerns

16     about the legal issues without at least having some kind of

17     evidentiary hearing about this.

18                 I mean, I don't -- I didn't read any of these

19     cases in which the Court sort of accepted and imposed

20     sanctions based upon just the exchange of briefs.           I mean,

21     this kind of exercise of the Court's inherent discretion to

22     reach out to pre-litigation conduct needs more than -- would

23     need more than just briefing and the attachment of exhibits.

24                 But in any event, leaving that to the side, you

25     know, at the end of the day, as I said, Google's conduct
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1      here doesn't fall into either of those categories.

2                  To the extent it fits into either of those two

3      categories, it probably fits more closely with the

4      spoliation category of records in which a party is sort of

5      intentionally taking steps to keep evidence out of the reach

6      of an adversary.

7                  But spoliation is very different than what we have

8      here, right?    None of these records have been spoliated;

9      they still are available to the plaintiffs.          In fact,

10     they're being produced to the plaintiffs.

11                 And so the prejudice that exists in those cases

12     that is undoubtedly driving the sanction is just absent

13     here.

14                 And while there is some prejudice, I don't dispute

15     that the plaintiffs have had to expend time and energy

16     identifying the issue, raising it, it is very different in

17     kind than the spoliation of evidence, one.

18                 And, two, it's not all that different in kind than

19     what litigants ordinarily have to do, which is closely

20     evaluate privilege logs and make determinations about what

21     to dispute and what not to dispute.

22                 Now, it may be the case that this was a more

23     institutionalized practice than we might ordinarily see.

24     But, you know, as I said, absent something that is more

25     closely analogous to this, and I appreciate the
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1      government's -- I mean plaintiffs' efforts to identify cases

2      from Circuit Courts in which courts upheld the exercise of

3      the Court's inherent authority to sanction pre-litigation

4      conduct, I think the fact that you all have been able to

5      find as many cases as you have but not find anything that's

6      nearly quite comparable to what we have here is, frankly,

7      telling, and, frankly, may just be that something like this

8      has not come up.     But even if that's so, I'm just not

9      convinced, based upon my reading of the case law, that the

10     Court's inherent authority can be exercised in the way that

11     you all have suggested.

12                 And in particular, I'll just add with respect to

13     the sanction that's been requested, and that is essentially

14     to have -- compel Google to turn over all of these silent

15     lawyer emails.

16                 And, you know, to that end, we did ask for Google

17     to produce a sample of those emails, we've had a chance to

18     look through them, Google produced 210 of those -- excuse

19     me, extracted a sample of 210.        26 of those were produced

20     and I want to talk about those in a minute.

21                 But among those that were not produced and what we

22     did review, I will tell you, we looked at these, we looked

23     at them carefully.      By our estimates, even if -- by our

24     estimates -- and, again, you know, this is based upon a

25     completely un- -- I shouldn't say completely uneducated, we
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1      don't have as much education as you all do on these issues.

2      We were satisfied that at least 75 percent of Google's

3      privilege claims in that sample set of 210 minus 26, just

4      from the face of the document, were clearly privileged.

5      They were requests for legal information, requests for

6      advice, requests for information from counsel.

7                  You know, another close to 25 percent, we couldn't

8      say with a definitive degree that they were privileged --

9      I shouldn't say 25, it was probably closer to 23 percent --

10     we couldn't say definitively that these were privileged just

11     because we may not have the full context, but, you know,

12     given some understanding of it, it didn't strike us as that

13     Google is acting in bad faith in designating those records

14     as privileged.

15                 I mean, the reality is that, given the nature of

16     these documents and the source of them, it's not always

17     going to be clear, crystal clear, from the face of a record,

18     whether this was something that was done at the request --

19     this is a communication that was sort of superintended by

20     lawyers or done at the request of lawyers.

21                 So, you know, we really -- at the end of the day,

22     it was a very small subset, less than five, even if that

23     many, of those documents that we looked at that we had --

24     that we sort of fell on the side of, well, this doesn't look

25     like it's privileged.      So we're talking about a very small
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1      percentage, even sort of descending to only one percent,

2      probably that close.

3                  And so the remedy that was being requested,

4      really, even if I had the inherent authority, there was no

5      way I was going to, given what we've reviewed, turn over

6      those kind of records en masse to an adversary, given what

7      seems to us to have been a good-faith effort by Google to go

8      back and look at these records and produce them, re-review

9      them, re-categorize them, de-privilege those that need to be

10     de-privileged, and produce them to the plaintiffs.

11                 Now, that said, we are concerned, I am concerned

12     about the fact that of the 210 that were used as a sample,

13     26 were produced for further review -- were produced after a

14     further review of those records.

15                 You know, that's about 12 percent.        I'm not

16     suggesting that the 210 here is in some sense a

17     representative sample, I'll let the statisticians figure out

18     whether that's representative or not.

19                 But, you know, we're talking about more than

20     10 percent of the sample of 210 documents upon a re-review

21     that were determined to be mistakenly designated at the

22     start.

23                 And so I think the question I have is, in light of

24     that number and that percentage that was some cause for

25     concern, I guess I'd like to understand what Google has done
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1      with these records.

2                  I know we talked about it previously, but at least

3      with respect to these category of -- they've come down to

4      16,000 emails of these silent -- or what you have called

5      silent-lawyer emails -- and the extent to which there has

6      been the kind of re-review that was done with respect to the

7      210.

8                  And, you know, if that, what I will call that --

9      just call it a rate of 12 percent were to apply to the other

10     18,000 -- excuse me, 15,800 withheld emails, you know,

11     that's not an insubstantial number, rough back of the

12     napkin, that's probably 1700 emails or something like that,

13     if that percentage stayed through.

14                 So I know there have been some recently disclosed

15     emails that it wasn't clear to me from your submissions

16     whether that was some number of de-privileged emails from

17     these silent-lawyer emails or whether that was from some

18     other source.

19                 So I guess the bottom line is, I would like to

20     understand the extent to which Google has gone through, in

21     light of -- once having identified these 16,000 emails that

22     fall into the category that's been identified by the

23     plaintiffs, followed through to do a thorough re-review of

24     those to satisfy me that there isn't 10 percent, or, you

25     know, close to 1600 emails out there that might fall in this
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1      category, that, upon further re-review, would actually be

2      produced.

3                  MR. SCHMIDTLEIN:     Thank you, Your Honor.

4                  These are, in terms of like the representative

5      sample, I think, question you asked, obviously, this

6      collection of documents is, I think, what the -- you know,

7      kind of a group or a category that the plaintiffs thought

8      were most likely not to be sustainable for privilege, so

9      they're sort of a little bit out of the ordinary.

10                 I can tell you what we have done for that group.

11     Some number of those documents were re-reviewed prior to the

12     sanction motion being raised, because they also fell into

13     categories that we had already looked at and so they were

14     not sort of re-re-reviewed.       Another significant chunk of

15     those documents were re-reviewed post-sanction motion,

16     similar to what we did for the sample, and sort of kind of

17     filtered in that way.      So we have sort of laid eyes on them

18     at different points in time.

19                 And I think certainly after the sanction motion

20     was raised and we began that review process or putting in

21     places that review process with a particular eye on the

22     issues raised, you know, we made sure to emphasize and

23     highlight the particular issues.

24                 I feel like -- we do feel like we have done a

25     thorough review of the documents.        As I said, we've done
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1      them in different time periods.        Some of them have been done

2      by different groups of lawyers, mostly outside lawyers,

3      because of the volumes involved here.

4                  THE COURT:    Yeah.

5                  I guess, Mr. Schmidtlein -- if I could interrupt

6      you, Mr. Schmidtlein.

7                  I guess the bottom-line question I have is,

8      I mean, can you say that -- what's the right way of phrasing

9      this -- that the kind of re-review that was done for the 210

10     that produced a 12 percent rate at which it was determined

11     that things should be de-privileged, that that kind of

12     review has been conducted for the 16,000 emails, because

13     I think that's -- you know, at the end of all of this, after

14     the long discussions we have had, after all the briefing and

15     at the end of the day, I think it is appropriate to make

16     sure and order Google to have looked at these 16,000 emails

17     to ensure that essentially there's not a 10 percent error

18     rate.   And that, you know, to the extent that you all were

19     de-privileging among 210, if that sort of percentage holds

20     true for the rest of the category, that's not an

21     insubstantial number of emails.

22                 Now, you know, I leave it to you -- I have no idea

23     how material these emails are or not, but, nevertheless, of

24     all of us -- as I said, the actual emails we reviewed,

25     because they weren't produced, you know, they were -- as
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1      I said, there was a very high percentage of them that were

2      clearly privileged, another large-percentage category that

3      it's hard for us to tell but certainly seemed like

4      good-faith privilege assertions.        But I'd like to have some

5      degree of satisfaction that that's been done for everything

6      in this category.

7                  MR. SCHMIDTLEIN:      Well, Your Honor, I will say

8      that, candidly, the differences that sort of the lawyers who

9      are involved, obviously, you know, a collection of 210

10     documents can be reviewed by lawyers at outside counsel and

11     who have been involved sort of all the way, steps in the

12     case --

13                 THE COURT:    Right.

14                 MR. SCHMIDTLEIN:      -- the larger group has been

15     largely re-reviewed by contract lawyers --

16                 THE COURT:    Sure.

17                 MR. SCHMIDTLEIN:      -- under -- you know, under the

18     guidance and instruction of outside counsel, and we have

19     certainly gone back and sort of tried to refine and improve

20     that process as we go.

21                 So can I sit here and tell you that the same --

22     the exact identical level of scrutiny given the two sort of

23     different groups?     They're not going to be 100 percent but,

24     we certainly have tried to make them as close to the same

25     level of scrutiny as we could.
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1                  THE COURT:    Well, I guess what I'd say is this.

2      Given the focus and attention of these emails, I mean, I

3      would like to do -- I do think we ought to, at least I ought

4      to be satisfied, I think plaintiffs ought to be satisfied,

5      that the same kind of scrutiny that was devoted to the 210

6      ought to be devoted the rest of that set.

7                  And, you know, I can understand why, perhaps,

8      greater scrutiny was given to something that was going to be

9      submitted to the Court, but I think you'd agree that that

10     ought to not have been the reason why there was this

11     10 percent as opposed to from the outset.

12                 So I think, you know, that's what I'm going to

13     order Google to do, which is to do -- and I'm not suggesting

14     that if it's already been re-reviewed, you have to

15     re-re-review it.

16                 But the bottom line being that I'd like to have

17     some degree of satisfaction that you've gone back to these

18     16,000 emails and they have been eyeballed in a way that is

19     consistent with the 210.       And that to the extent those

20     records need to be de-privileged and produced, I'm going to

21     order Google to do that, okay?

22                 MR. SCHMIDTLEIN:     Thank you, Your Honor.

23                 THE COURT:    All right.

24                 All right.    Is there anything else -- do we have a

25     date for -- is there anything else we need to take up before
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1      we set our next date?

2                  MR. SALLET:    No, Your Honor.

3                  MR. SCHMIDTLEIN:      No, Your Honor.

4                  MR. DINTZER:    Nothing here, Your Honor.

5                  THE COURT:    Okay.

6                  Your deadline for expert reports is June the 6th.

7                  Can I ask you all to do the following?         Can I ask

8      you to hold 3:00, if you're available, both on June the 16th

9      and 17th?

10                 MR. SALLET:    Yes, Your Honor.

11                 MR. DINTZER:    Yes, Your Honor.

12                 THE COURT:    Just because I'm starting a

13     January 6th trial on the 10th.        It should be over by the

14     16th, but it may not be.       So I just want to try and leave a

15     little bit of flexibility there.

16                 And as we get closer in time, I can pin down which

17     of those two days it's going to be.         And if you all would

18     just submit something by June the 14th as a status update to

19     the extent there are issues that need to be summarized and

20     brought to my attention.

21                 And then insofar as the issues we talked about

22     earlier today, you know, after you all meet and confer, and

23     if you all want to let me know by Monday or Tuesday of next

24     week what you've decided in terms of a deadline and in

25     the -- a deadline for production and a deadline for motions
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1      to compel, just let me know and I can enter that order onto

2      the docket, okay?

3                  MR. SALLET:    Will do, Your Honor.

4                  MR. DINTZER:    Thank you, Your Honor.

5                  THE COURT:    All right.

6                  Anything else from either side?

7                  MR. SALLET:    No.

8                  THE COURT:    All right.

9                  Thank you, everyone.      I know this is a long slog

10     and I can only -- I keep telling my clerks, I can only

11     imagine what it's like for the lawyers in this case.

12                 But I really am grateful at your professionalism

13     and how -- you all have worked quite cooperatively.            And

14     I know there's undoubtedly a great deal of stress and some

15     conflict when it's not in front of me, but, nevertheless, I

16     think given the scope of this case, and not only the scope

17     but what's at stake, what's been presented to me for

18     resolution has actually been quite modest, and so I

19     appreciate that.

20                 All right.    Thank you, all.     We'll see everybody

21     in a month.    Obviously if you need me sooner, you know where

22     to find me.

23                 (Proceedings concluded at 4:44 p.m.)

24

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